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      EXHIBIT B
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                     Foreword




                     Dear associates,

                     “In the long term, an honest and fair approach to doing busi­
                     ness will always be the most profitable. And the business
                     world holds such an approach in much higher esteem than
                     is generally imagined.” Written by Robert Bosch in 1921,
                     these words express a belief we still firmly hold today: reli­
                     ability, credibility, responsibility, fairness, and above all
                     legality are essential components of our business success.

                     For us on the board of management, for all associates, and
                     for all the companies that make up the Bosch Group, this
                     clear commitment is a common bond that transcends
                     national and cultural differences. Its significance cannot be
                     overstated. To explain just how significant it is, we have doc­   Volkmar Denner            Christoph Kübel
                     umented where we stand with respect to legal requirements         Chairman of the           Member of the
                     and ethical issues in this “Code of Business Conduct.” It         board of management,      board of management,
                     sets out how we act in our day to day business. In conjunc­       Robert Bosch GmbH         Robert Bosch GmbH
                     tion with the Bosch values, it provides a rock-solid founda­
                     tion on which trust can grow – trust that is essential if we
                     are to thrive as a company.




           2
           2




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                     Code of Business Conduct




                     Introduction
                     For us as a company, observing the principle of legality and      “This Code of Business Conduct is of the utmost impor­
                     practicing business responsibly and fairly have always been       tance for us. We must all be familiar with what it says, and
                     paramount. Indeed, they are central Bosch values. Numer­          comply with it. In times of change in our markets and busi­
                     ous guidelines and directives govern our actions as associ­       ness activities, this is a constant challenge.
                     ates of the Bosch Group. At all times, we familiarize our­        “You should never hesitate to ask questions or point out any­
                     selves with them and comply with them. To facilitate this         thing that is unclear: my colleagues in the compliance organ­
                     compliance, the essential aspects of these company rules          ization (the compliance management department (C/CM)
                     are summarized in simplified form in this Code of Business        and our compliance officers (CPO) in the divisions and
                     Conduct. Should the above-mentioned guidelines and direc­         regions) and I are always there to provide guidance.”
                     tives contradict this Code of Business Conduct, or if any
                     other questions should arise, we contact the compliance           Wolfgang Kübler
                     organization or the legal department (C/LS).                      Chief Compliance Officer

                     Certain activities may also be governed by laws or rules
                     from one or more different legal systems. We always comply
                     with the law that is applicable in each individual case. This
                     also includes the laws of the country for which a certain
                     product or service is intended. If we are in doubt, we find          If more specific guidelines or central directives exist
                     out about the prevailing local laws, also by enlisting the sup­      for the issues addressed in this Code of Business
                     port of the relevant regional subsidiary or operating unit. If       Conduct, they must be observed. Specific company
                     this Code of Business Conduct conflicts with local laws, local       regulations must not contradict the basic principles of
                     laws take precedence. If the situation is unclear, we contact        the Code of Business Conduct.
                     the compliance organization or the legal department.




                                                                                                                                                    3




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       “We comply with
         the law and act
         responsibly.”


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                     The principles that guide us



                     1. Basic principles




                     Lawful, regulation-compliant, responsible, and fair                  Regardless of any legal sanctions, a violation of this Code
                     conduct                                                              of Business Conduct will, as a matter of principle, result in
                     We adhere to the principle of legality in all dealings, actions,     disciplinary action, up to and including termination and the
                     contracts, and other activities of the Bosch Group. In par­          right to assert claims for damages against those involved.
                     ticular, we do not deceive customers, government agencies,
                     or the public, nor do we collude in such deceit by third par­        Reporting suspected irregularities
                     ties.                                                                We are expected to report any possible violations of the
                                                                                          rules embodied in this Code of Business Conduct to our
                     Adhering to the principle of legality also includes payment          supervisors. We can also contact the compliance organiza­
                     of applicable taxes and customs duties, compliance with              tion at any time. In this case, there is the option of reporting
                     competition and antitrust laws, a strict prohibition of              our suspicions to the compliance hotline. While this should
                     corruption and money laundering, application of state-of-            preferably be done personally, anonymous reporting is also
                     the-art technology, procurement of the required official             possible. Reports will be treated confidentially. In addition,
                     licenses, compliance with export control laws, and respect           reports made in good faith will not result in any disadvan­
                     for the legal rights of third parties. This basic principle is not   tage whatsoever for Bosch associates or business partners.
                     driven solely by consideration of the grave consequences             This is also the case if the report is subsequently found to
                     of violations and the harm that can be done to the company           be unjustified.
                     as a result of prosecution, fines, and claims for damages.
                     Instead, we support the principle of strict legality regardless
                     of whether the Bosch Group benefits from it. Legality and               Who can we report violations to?
                     the Bosch values take precedence over customer requests                 In addition to our supervisors or the department
                     and other business interests.                                           responsible, we can report violations to the
                                                                                             compliance officer (directly or via the compliance
                     We are responsible for abiding by the laws that apply in                hotline). The compliance officer responsible can
                     our field of activity and are required to assess our working            be found on the BGN under “Compliance” (https://
                     environment continuously from the standpoint of legality,               bgn.bosch.com/alias/compliance). This page also
                     responsibility, and fairness. If we are unsure as to the deci­          includes a link to the compliance hotline.
                     sion to make from the standpoint of legality, responsibility,
                     and fairness, we contact our supervisor, the compliance
                     organization, or the legal department.




                                                                                                                                                          5




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                                                                                           lations is continuously and properly monitored in our par­
                        What is the compliance hotline?
                                                                                           ticular area of responsibility. As supervisors, we also ensure
                        The compliance hotline offers us an additional
                                                                                           that our associates are aware that violations of the principle
                        option for safely and confidentially reporting
                                                                                           of legality and the Code of Business Conduct are prohibited
                        possible violations of our compliance principle.
                                                                                           and will, as a matter of principle and regardless of the asso­
                        In most countries, reports can also be made
                                                                                           ciate’s position in the company, result in disciplinary action.
                        anonymously.
                        Operated by a specialized service provider, the
                                                                                           If an associate reports a possible violation to us, we ensure
                        compliance hotline is a reporting system that is
                                                                                           that no disadvantage whatsoever results for that associate
                        available over the internet to all associates as
                                                                                           from a report made in good faith. This is also the case if the
                        well as to people from outside the company. This
                                                                                           report is subsequently found to be unsubstantiated.
                        worldwide system is available around the clock in
                        many languages.
                                                                                           As supervisors, we act as role models for our associates,
                        Additional information can be found on the BGN
                                                                                           inform them about the rules embodied in this Code of
                        under “Compliance.” Alternatively, go to
                                                                                           Business Conduct, discuss these rules with them, and –
                        https://www.bkms-system.net/bosch-compliance or
                                                                                           together with the compliance organization and the legal
                        http://www.bosch.com/compliance
                                                                                           department − make ourselves available as a contact part­
                                                                                           ner. We are the driving force behind the compliance dialogs
                                                                                           we regularly conduct in our departments.
                     If, as supervisors, we receive information about possible
                     violations by associates or third parties, we contact the             Social responsibility
                     department responsible. We forward legally significant                On our own initiative and in the interest of the company, we
                     matters to the department responsible for legal advice.               act responsibly, also taking our impact on society and the
                                                                                           environment into account. When working with others in the
                     Reports about possible violations are dealt with immediately          company and with business partners, we believe our suc­
                     in internal investigations. If the reports are substantiated,         cess depends on fairness. We reject any violation of human
                     the necessary actions are initiated.                                  rights (for instance, forced or child labor), also on the part
                                                                                           of our business partners. When performing our tasks, we
                     Cooperation with authorities                                          keep the reputation of the Bosch Group in mind. We abide
                     In its dealings with the authorities, Bosch pursues a coopera­        by the principle of legality and uphold the basic principles of
                     tive approach. As Bosch associates and supervisors, we fully          responsible and fair action.
                     cooperate when lawful investigations are conducted by Bosch
                     or the authorities. This does not affect legal privilege, the right   Conduct with respect to fellow associates
                     to withhold information, and any other procedural rights.             We respect and defend the personal dignity of each individ­
                                                                                           ual. We do not tolerate any discrimination or harassment of
                     Supervisors’ responsibility                                           our fellow associates, and encourage diversity.
                     Our responsibility as supervisors is to ensure that there are
                     no violations of legal regulations or of this Code of Busi­
                     ness Conduct in our area of responsibility which could have
                     been prevented or impeded through appropriate controls.
                     We ensure that compliance with statutory and internal regu­




           6




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                                                                 “We respect and
                                                             defend the dignity of
                                                                  each individual.”




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                                                           “We act in the best
                                                             interest of Bosch.”




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                                        How we protect relationships based on trust




                                        2. Avoiding conflicts of interest
                                        Secondary employment and shareholdings                    Engaging business partners for private
                                        We take on secondary employment only with the             purposes
                                        prior consent of our employer. This consent will be       If our work means we are immediately involved in
                                        granted if the secondary employment does not com­         the awarding or settlement of orders, and this gives
                                        promise any justified interest of the company. As         rise to a potential conflict of interest, we may only
                                        associates, furthermore, we may only be involved in       engage a business partner of Bosch for private pur­
                                        competitors, suppliers, or customers after notifying      poses after obtaining the advance written consent
                                        the company in writing of each individual case in         of the executive management responsible. This does
                                        advance. In the case of shareholdings, this rule does     not apply to generally available goods and services.
                                        not apply if the shareholding is less than ten per­
                                        cent. We must notify the company in writing before
                                        we engage in business with companies in which we,            What is meant by “generally available
                                        our spouse or partner, or close family members               goods and services”?
                                        have a shareholding or perform an executive func­            Goods and services are regarded as
                                        tion, provided we can influence the business rela­           generally available if they are offered to all of
                                        tionship and there is a potential conflict of interest.      us on the same conditions (price, etc.). Retail
                                                                                                     goods are an example. In contrast, a service
                                                                                                     for which we obtain a specific estimate is
                                                                                                     not generally available. One example is the
                                                                                                     estimate drawn up by a painter for renovating
                                                                                                     our apartment.




                                                                                                                                                         9




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                     3. Dealing with information
                     Written documents                                                  Insider information
                     All records and reports, whether internal or external, must        Insider information is information not known to the public
                     be accurate and truthful. We observe generally applicable          that could affect the price of stock or other financial instru­
                     accounting principles, which require that data and other           ments (“securities”). If we are party to insider information,
                     records must always be complete, correct, up-to-date, and          the following principles apply:
                     system-compliant. We may only use confidential company             (1) We do not purchase or sell any securities on the basis
                     information to create records, files, and the like if this         of this insider information. This applies regardless of
                     immediately serves the interest of Bosch.                          whether these transactions are carried out for our own
                                                                                        account, for the account of third parties, or on behalf of
                     Confidentiality                                                    others.
                     Confidential company information must be kept secret. This         (2) We do not use our insider information to recommend
                     obligation remains in effect after our employment contract         that anyone purchase or sell securities, nor do we induce
                     ends.                                                              anyone to do so in any other way.
                                                                                        (3) We treat insider information strictly confidentially. We
                     Data protection and information security                           never make such information available to third parties; this
                     In all business processes and in compliance with the appli­        also applies to passwords that allow access to electronically
                     cable statutory requirements, we ensure that privacy is safe­      stored insider information. We only make insider information
                     guarded, personal data is protected, and all business informa­     available to fellow associates or consultants from outside the
                     tion is kept secure. Technically and organizationally, and         company if the recipient needs the information to perform
                     especially with regard to protection against unauthorized          their tasks, and has been sworn to strict confidentiality.
                     access and loss, we apply an appropriate standard that
                     reflects the state of the art and takes account of the associ­
                     ated risks.                                                           How do I identify insider information?
                                                                                           Examples of insider information include sales figures
                     When developing Bosch products and new business models,               that are not intended for publication, information
                     we ensure that the legal requirements governing data protec­          about M&A projects, major reorganizations, new
                     tion and information security are taken into account at an early      appointments to the board of management and
                     stage. In addition to the compliance organization and the legal       supervisory board prior to their official publication,
                     department, the primary contact for questions regarding how           conclusion or cancellation of a major contract with
                     to handle data properly is the data security officer.                 a customer or supplier, important legal disputes, or
                                                                                           dealings with government agencies.




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               “We keep confidential
                 information secret and handle
                 sensitive data responsibly.”




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                     How we shape our business relationships



                     4. Conduct toward business partners and third parties
                     Competition and antitrust laws                                     Corruption
                     We observe the rules of fair competition as defined by appli­      We do not tolerate corruption in any form. Corrupt behavior
                     cable law. In particular, we are aware that competitors are        of associates or business partners is liable to prosecution. It
                     not allowed to exchange information or reach agreements on         distorts competition, results in financial loss, and harms the
                     allocation of territories and customers, prices and compo­         company’s reputation.
                     nents of prices, supply relationships and the conditions gov­
                     erning them, production capacities, and the terms and condi­
                     tions of bids. The same applies to exchange of information            What are the consequences of corruption?*
                     concerning market strategies and investment strategies. We            Corruption results in higher costs for companies,
                     are aware that it is prohibited not only to make written agree­       limiting the funds available for investment, growth,
                     ments in this respect, but also to make verbal agreements             and innovation. It leads to dependency and prevents
                     and to practice tacit, conscious parallelism (pricing strategies      sustainable business relationships. Products become
                     that occur without actual agreement between the players).             more expensive, and economies grow more slowly
                                                                                           and fail to achieve their full potential. Corruption does
                     Only in strictly defined exceptional cases do we collaborate          everyone a disservice.
                     or exchange information relating to research and develop­             * Based on Transparency International

                     ment projects. We do not restrict customers’ and purchas­
                     ers’ freedom to set their own resale prices, and make no
                     attempt to exercise such influence. We comply with the             When it comes to giving gratuities to public officials or peo­
                     applicable national regulations governing anti-competitive         ple in similar positions, we apply extreme restrictions. We
                     clauses in contracts with customers or suppliers. We do not        wish to avoid even the appearance of an attempt to gain
                     abuse a dominant market position to impose discriminatory          influence. We ourselves do not accept gratuities from public
                     pricing, to make business deals dependent on the purchase          officials. We neither offer nor grant public officials benefits
                     of other products, or to refuse delivery.                          for carrying out or expediting official acts. We abide by this
                                                                                        regardless of whether we are legally entitled to the official
                     Supplier and customer relationships                                act, or the public official behaves in a manner that violates
                     The agreements we make with customers and suppliers are            their official duties.
                     complete, unambiguous, and documented, including any sub­
                     sequent changes and additions. This also applies to arrange­
                     ments such as bonus payments and cost subsidies for adver­
                     tising and sales promotion. We comply strictly with the internal
                     regulations concerning the use of dual control and the segrega­
                     tion of executive and monitoring functions. We select suppliers
                     solely on competitive merit, after comparing the price, quality,
                     performance, and suitability of the product or service offered.




           12




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                     “Our conduct is
                       based on fairness
                       and integrity.”



                                                                                                    13




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                        Who is considered a public official?                              As a Bosch associate, am I allowed to invite
                        Public officials are above all individuals performing             customers to dinner?
                        sovereign tasks. Examples may include civil                       We are allowed to invite customers to dinner if it
                        servants, judges, employees of official agencies,                 is related to business and the expense remains
                        professors at public universities, and employees of               within reasonable limits. For example, a dinner is
                        testing institutes that perform sovereign tasks.                  business-related if it follows a workshop or product
                        Employees of publicly owned entities that are                     presentation and business or professional subjects
                        organized under private law and perform public                    are discussed. A dinner is reasonable if its cost
                        functions (for instance, public utilities) may also be            does not exceed what is customary in the respective
                        considered public officials in certain jurisdictions.             region. If there is any uncertainty, we contact our
                                                                                          compliance officer.


                     In the course of business, and especially in our dealings
                     with customers and suppliers, we also refrain from any form       Personnel rotation in sensitive areas
                     of corruption or other unfair attempt to influence business       In sensitive areas such as purchasing and sales, we make pro­
                     decisions. This applies in particular to agreements concern­      vision for regular job rotation as a matter of principle. In many
                     ing the brokering, award, delivery, settlement, and payment       cases, this also serves our further professional development.
                     of orders. We do not agree to any payments where it can be
                     assumed that they are intended to serve entirely or partially     Donations
                     as bribes. We oblige agents or other intermediaries that we       Robert Bosch Stiftung is involved in the fields of interna­
                     engage to procure orders or permits neither to pay or to          tional relations, healthcare, education, science, and culture.
                     accept bribes, nor to grant any undue benefits. For viola­        It is both an operating foundation that pursues its objectives
                     tions, our contracts provide for the right to terminate with­     with its own programs and a grant provider that enables
                     out notice.                                                       third parties to develop and implement their projects. By
                                                                                       contrast, operating units of the Bosch Group express their
                     When it comes to accepting and giving gifts and other gratu­      commitment to civic society by making cash and non-cash
                     ities, including invitations, we apply extreme restrictions.      donations to educational, scientific, cultural, and social
                                                                                       causes. The rules governing the award of such donations are
                     If we allow ourselves to be unfairly influenced by public offi­   established exclusively by the board of management of
                     cials, customers, suppliers, or other third parties, or our­      Robert Bosch GmbH or the executive management of the
                     selves attempt to unfairly influence such individuals, we will    operating units. When making such donations, we are not
                     be subject to disciplinary action – regardless of the conse­      motivated by self-interest, and make a clear distinction
                     quences under criminal law. We report any attempts by pub­        between such donations and sponsoring.
                     lic officials, suppliers, customers, or other third parties to
                     unfairly influence our decisions to the executive manage­
                     ment responsible and the compliance officer.

                     In the case of violations, we take appropriate action, such
                     as an order embargo or termination of contract.




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                                      “We do not tolerate
                                        any corruption.”




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                                                            “We are aware of
                                                              our responsibility
                                                              to the environment
                                                              and society.”




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                     How we develop and manufacture

                                                                                         conflict into the open. Any conflicts are resolved in accord­
                        What principles apply to the development of
                                                                                         ance with the principle of legality, the principles of respon­
                        products?
                                                                                         sible and fair business practice, and the other Bosch values.
                        At all times, our actions are guided by the principle
                        of legality and our “Invented for life” ethos. Legality
                        and the Bosch values take precedence over
                        customers’ wishes. When developing and calibrating               6. Intellectual property of third parties
                        functions, Bosch adheres to the following principles:
                        • T he development of functions to detect test cycles           The intellectual property of third parties comprises both
                           or other tests is not permitted (either on Bosch              the protected commercial rights (such as patents, trade­
                          platforms or on functions or software developed by             marks, registered designs) and the copyrighted items (such
                          Bosch in fulfillment of customers’ wishes).                    as software, image rights) of third parties.
                        • Across the entire program map of the product’s                 We respect the intellectual property of third parties and, as a
                           normal operating conditions, calibration must be done         matter of principle, may only use it if granted the right to do
                           in such a way that the contractually agreed                   so. We may only use and distribute third-party know-how that
                           performance is delivered, human life is safeguarded           does not have protected commercial rights or copyright pro­
                           to the greatest possible extent, and impact on the            tection if such use and distribution is not prohibited by other
                           environment and resources is kept to a minimum.               statutory regulations. If this third-party know-how was pro­
                           Optimizing products solely to satisfy test cycles is not      vided to us under a confidentiality agreement, it may only be
                           permitted.                                                    used and distributed as stipulated by the provisions of that
                                                                                         confidentiality agreement. This particularly includes third-
                        These principles apply to all Bosch products                     party manufacturing drawings as well as individual data,
                        (including services) in all phases of product
                                                                                         dimensions, and tolerances obtained from third parties.
                        development, and must also be observed during
                                                                                         We use third-party software – including open-source software
                        product monitoring. These principles help us do
                                                                                         and firmware – only within the scope allowed by law and in
                        justice to our “Invented for Life” ethos. They express
                                                                                         compliance with the respective license conditions.
                        the unconditional primacy of legality.


                                                                                         7. Occupational safety, health, fire
                     5. Standards for our products and                                   prevention and environmental protection
                     services
                                                                                         It is our duty to keep people and the environment from
                     Outstanding quality is our strength. We deliver safe prod­          harm, to minimize our impact on the environment, and to
                     ucts of the highest quality and reliability. In this way, we sat­   use resources sparingly. Processes, operating facilities, and
                     isfy our customers’ requirements and expectations. When             operating materials must comply with statutory and internal
                     developing and manufacturing products and providing serv­           occupational safety requirements, as well as with health, fire
                     ices, we are guided at all times by the principle of legality       prevention, and environmental protection regulations.
                     and our “Invented for life” ethos. At the very least, our prod­
                     ucts reflect the state of the art. If putting these require­
                     ments into practice results in a conflict of goals, we bring this




                                                                                                                                                     17




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           “We speak openly about
             risks and uncertainties.”

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                              How we use this code




                              8. Communication and training
                              We are informed regularly about current topics relating
                              to this Code of Business Conduct. We engage in regular
                              dialog on compliance issues and address risks openly.
                              We regularly receive training on individual subjects.

                              9. Internal control system
                              Bosch maintains an internal control system. Within their
                              area of responsibility, the executive management of
                              every operating unit is responsible for compliance with    Note:
                              the rules contained in this Code of Business Conduct as    The rules contained in this Code of Business
                              well as with any additional company rules.                 Conduct apply to the employment contracts
                                                                                         between the respective Bosch Group companies
                              The corporate internal auditing department (C/AU),         and their associates. They are mandatory
                              including its local units, has an unlimited right to       directives. Third parties may not derive any
                              request information and conduct audits, provided these     rights from this Code of Business Conduct.
                              do not run contrary to statutory or company regulations.




                                                                                                                                        19




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                Information and contacts



                Further information is available at
                www.bosch.com/compliance and
                https://bgn.bosch.com/alias/compliance



                Robert Bosch GmbH
                Compliance Management (C/CM)

                Postfach 10 60 50
                70049 Stuttgart
                Germany
                Phone +49 711 811-48643

                compliance.management@de.bosch.com




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